857 F.2d 1470Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Maurice S. YOUNG, Petitioner-Appellant,v.UNITED STATES DISTRICT COURT;  Norman A. Carlson;  EdwinMeese, III;  Marion S. Barry;  Counsel, Districtof Columbia, Respondents-Appellees.
    No. 87-7363.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 28, 1987.Decided:  Aug. 3, 1988.
    
      Maurice S. Young, appellant pro se.
      Before WIDENER and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Young v. United States District Court, C/A No. 87-204-AM (E.D.Va. Mar. 9, 1987).
    
    
      2
      AFFIRMED.
    
    